EQONOMIC 2 PROPERTY DAMAGE CLAIMS

Last/Name of Business First Middle

Claimant Name THONN CASEY

Claimant ID 100051739 Claim ID 19691
Claim Type Seafood Compensation Program

Law Firm Andry Law Group/Andry Lerner, LLC

Catch Type Shrimp Operator Type Boat Captain

Vessel Name Boss Hoss

LAZ62111E101

This Notice is an official communication from the Claims Administrator for the Deepwater Horizon Economic and
Property Damages Settlement Program (“Settlement Program”) and relates to the claim identified in Section 1.
You-or BP appealed the Compensation Amount initially offered after we reviewed your claim. The Appeal process
is complete and the Post-Appeal Compensation Amount in Row 1 below is the Settlement Program’s final decision
on your claim. The following provides a breakdown of the factors relevant to your.payment.

1. Post-Appeal Compensation Amount: $189,189.00
2 5% Review Cost: If you prevailed on your Appeal you will receive a 5% increase in $0.00
. the Post-Appéal Compensation Amount. .
Filing Fee Adjustment: This amount is the 5% reduction in the pre-RTP Compensation
3 Amount that you agreed to pay If you did not prevail in the appeal. If you did not prevail $0.00
. and this amount is zero, you have already paid your filling fee and your pre-RTP .
Compensation Amount will not be reduced.
4. Risk Transfer Premium Multiplier: 0.00
Risk Transfer Premium Amount: This amount Is your Post- Appeal Compensation
5, Amount multiplied by the Risk Transfer Premium Multiplier. This ammount will be added to $0.00
your Past- Appeal Compensation Amount.
6 Plus Claimant Accounting Support: See Claimant Accounting Support $1,161.25
. Reimbursement Attachment for additional details. uo
Less Prior Seafood Spill-Related Payments: All of your eligible Seafood
Compensation Program claims must exceed this amount in order to receive payment. If
7 you have multiple Seafood Compensation Program claims eligible for compensation, these $72,500.00
" offsets will appear on each of Eligibility Notice. However, we will apply these offsets for , .
prior Seafood Spill-Related Payments only once against your Total Seafood Compensation
Program Award. ~
. Total Compensation Amount: $117,850.25
. 40% of Prior Transition Offer, if Applicable: N/A
10 Filing Fee Refund: This is the refund of the appeal filing fee if you paid. We will only $0.00
. refund this fee if you prevailed in the appeal. ,
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4i Award Amount: Higher of 40% Amount or Final Claimant Compensation, subject to any
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$117,850.25

Seafood Compensation Program Offers to Date: This is the value of all eligible
12. Seafood Compensation Program offers that are not under Reconsideration or Appeal at the $190,350.25
time of this Notice. This value includes the Award amount of this claim.

Total Seafood Compensation Program Award Amount to Date: Seafood
Compensation Program Offers to date minus Prior Seafood Spill Related Payments and any
40% Amount awarded in your first Notice. This fs the total value, after offsets for Seafood
13. Spill-Related Payments, of all Seafood Compensation Program awards that are not under $117,850.25
Reconsideration or Appeal at the time of this Notice. This Amount will change if you
request reconsideration of a prior Seafood Compensation Program offer or if BP appeals
any of your prior Seafood Compensation Program Offers.

Because you previously signed a Full and Final Release, Settlement, and Covenant Not to Sue and have received a
payment from the Settlement Program, you do not need to submit another Release to receive a payment on this
claim, To obtain more detailed information about the payment process and other steps, go to
www,deepwaterhorizoneconomicsettlement.com. If you have any questions about your options or this
Notice, you may call the Claimant Communication Center at 1-800-353-1262, send an email to
Questions@dhecc.com, or visit a Claimant Assistance Center.

You may be able to place some or all of your Award Amount into a structured settlement to receive multiple
payments spread out over more than one year (the “Structured Settlement Option”). You should consult your own
tax adviser regarding whether You should consider that Structured Settlement Option, and*the tax, financial and
other consequences of the Structured Settlement Option.

If you want more inforniation on the Structured Settlement Option, go to ” .
www,deepwaterhorizoneconomicsettlement.com/structuredsettlement.php or call the Claimant .
Communications Center at 1-800-353-1262. IF YOU WISH TO BE PAID USING THE STRUCTURED SETTLEMENT
OPTION, DO NOT TAKE ANY STEPS TO ACCEPT YOUR AWARD AMOUNT ONLINE OR OTHERWISE AT THIS TIME.
Instead, a Court-approved structured settlement broker will help you assemble the paperwork necessary to elect
the Structured Settlement Option and that broker will send your completed paperwork to the Claims Administrator
(this paperwork will include an additional document that will be Attachment C to your original Release). If this
‘|paperwork is not submitted on your behalf by a Court approved structured settlement broker by the Deadline Date
shown on this Notice, the Claims Administrator will consider that you have accepted your Award Amount to be
paid in a lump sum and that you do not want a Structured Settlement Option for this Award Amount.

If you accept your Award Amount and the claimant on whose behalf this claim was asserted is deceased, a minor,
or incompetent, depending upon the law of the state where the claimant lived or lives now, you may be required
to get court approval of this accepted settlement and submit a copy of an official court document proving that the
person signing the Release has the authority to settle this claim on the claimant's behalf if you do not already
have such a document, even if we accepted whatever proof you have provided before now as sufficient to allow
the claim to move through the claim review process. We will notify you if you need to seek court approval or
submit additional proof of authority before payment.

If we receive a valid Third Party Claim or Lien against your payment before we begin the payment process, we are
required to deduct from your Award Amount identified in Section II of this Notice the third party claim amount and
any other deductions required by state or federal law or by any court order. If your claim is subject to a third
party claim, we will send you a Notice of Valid Third Party Claim to explain how it affects your current and/or
future Award Amount(s). .

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You are eligible to receive reimbursement for reasonable and necessary accounting fees related to claims
preparation. Reimbursement is limited to the accounting services necessary to complete the Claim Form or
prepare supporting documentation. You will be reimbursed for accounting fees based on the actual fees incurred.

If you have any questions about this Notice or the status of your claim(s) or for help, contact the Claimant
Communications Center at 1-800-353-1262 or send an email to Questions@dhecc.com. If you are a law firm or
claims preparation company, you should call or email your designated DWH Contact for help or assistance. You
also may visit a Claimant Assistance Center and talk with one of our representatives. For a complete list of
Claimant Assistance Centers, go to www.deepwaterhorizoneconomicsettlement.com.

Submit your erigina/hard copy, signed Release bearing the claimant's signature by Mail, Overnight Certified or
Registered Mail, or by visiting a Claimant Assistance Center. If you have already submitted a Release and you wish
to accept this Award Amount go to www.deepwaterhorizoneconomicsettlement.com and choose the Accept
Award Amount option. If you are unable to access the DWH Portal you must calf the Claimant Communications
Center at 1-800-353-1262 to accept payment on this claim.

. Deepwater Horizon Economic Claims Center

By Mail PO Box 1439

Hammond, LA 70404-1439

Deepwater Horizon Economic Claims Center
c/o Claims Administrator

By Overnight, Certified or Registered

Mail a 42548 Happy Woods Road
- Hammond, LA 70403
Visit a Claimant Assistance Center You may take the required information or documents to a Claimant

Assistance Center

We received one or more additional Claim Forms from you that are not included or addressed in this Notice. This
chart summarizes the status of those claims as of the date of this Notice. You will receive or have already
received separate Notices for each additional claim. You may monitor the status of your cther claims by using the
DWH Portal. If you do not use the DWH Portal, contact us by one of the methods listed in the How to Contact us
with Questions or For Help Section of this Notice to find out the current status of your other claims or use the
“Check My Status” feature located on the homepage of the official Settlement Program website at
www,deepwaterhorizoneconomicsettlement.com.,

Claim Type Claim ID Claim Status
1. |Seafood Compensation Program 19690 Payment Received
2. |VoO Charter Payment 20741 Payment Received
3. |Subsistence 97550 Claim Form Submitted
4, |Vessel Physical Damage 179170 Claim Form Submitted
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